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Exhibit A

 
 

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANTA

MAGGIE McNAMARA, CIVIL ACTION - LAW
Plaintiff

-vVs-

SUSQUEHANNA COUNTY, et
al,

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)
x

Defendants No. 3:17-CV-2182-MEM

 

DEPOSITION TESTIMONY OF
MAGGIE McNAMARA
WEDNESDAY, JUNE 6, 2018

KREDER, BROOKS, HAILSTONE, LLP
220 PENN AVENUE - SUITE’ 200
SCRANTON, PENNSYLVANIA

THERESA A. CROSSIN, RMR
NOTARY PUBLIC

KEYSTONE COURT REPORTING AGENCY, INC.
4099 BIRNEY AVENUE, SUITE 9
MOOSIC, PA 18507
(570) 558-3011 (800) 570-3773
FAX (570) 558-3014

 

 

 
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COUNSEL PRESENT:

On behalf of the Plaintiff:
MAZZONI, KARAM, PETORAK & VALVANO
BY: CHRISTOPHER J. SZEWCZYK, ESQ.
321 Spruce Street - Suite 201
Scranton, PA 18503

On behalf of the Defendant:
KREDER, BROOKS, HAILSTONE, LLP
BY: A. JAMES HAILSTONE, ESQ.
220 Penn Avenue - Suite 200
ecranton, PA 18503

STIPULATIONS

It was stipulated and agreed by and between
counsel that the reading, signing, sealing and filing
of the deposition transcript be waived.

It was further agreed that all objections except
as to the form of the question will be reserved until
the time of trial.

INDEX OF WITNESSES

 

_ EXAMINATION PAGEK NUMBER
MAGGIE McNAMARA

By Mr. Hailstone Se 3

INDEX OF EXHIBITS

 

 

DEFENDANT

EXHIBIT NUMBER DESCRIPTION MARKED
1 12/30/15 Written warning . . .19
2 Rich Ely note ....... . 22
3 Rule 26 disclosures. . .. . .25
4 McNamara resignation letter. .55
5 Stoud resignation letter. .. 57
6 Counseling session. ..... 61
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MAGGHMIE Mc NAMARA,
WAS CALLED, AND HAVING BEEN DULY SWORN,

WAS EXAMINED AND TESTIFIED AS FOLLOWS:

EXAMINATION BY MR. HAILSTONE:
| Q. Good morning, Ms. McNamara. My name is
Jamie Hailstone. I represent the Defendant,
Susquehanna County, in an action that you brought.
Today we are going to take your
deposition. I am going to be asking questions, you
are going to be answering. Everything is going to be
taken down by the stenographer and, eventually, a
written transcript of our discussion today, the
questions and the answers, are going to be produced.
‘My first question --
MR. HAILSTONE: Actually, more for

Chris, is she going to sign, review and

sign, or does she waive?

MR. SZEWCZYK: We will waive.
BY MR. HAILSTONE:

Q. Just a couple of ground ‘rules before we
get started. My first question is have you ever been
deposed before?

A. I have not.

Q. Okay. So, basically, this is the

 

 

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process, I am going to ask questions; you are going
to answer. I ask that you answer orally. We can't
take down the nod of a head or shake of a head, so
everything has to be -~- do you understand that?

A. I do.
Q. There might be objections during the
deposition. We will pause and let your attorney and

I discuss them, but I am just warning you about that.

If I ask you anything that you don't
understand or is in any way confusing, please, don't
answer, ask me to rephrase it, and I can try and work
with you on it. What we don't want you to do is we
want you to answer as truthfully as you can to the
question that I. pose. So, if you have any problem
with any of my questions, please, let me know.

Any time you have a problem and you
want to stop, consult with your attorney, that's fine
by me. The only thing I ask is that if there is a
question that has been posed to you that you answer
before we take a break. But if you have any issue

about taking a break at any time, I have no problem

with that. You understand?
A. IT understand.
Q. Okay. Thank you. Not to get personal,

but is there anything today, any medications or

 

 

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anything that might have happened that you can't
understand and answer questions?

A. No, I am fine.

Q. Okay. So, could you state your name

for the record?

A. Maggie McNamara.
Q. - Where do you live Ms. McNamara?
A. 5681 North Road, Friendsville,

Pennsylvania.

Q. How long have you been there?

A. - lil years.

Q. What is your educational background?
A. I have an Associate's degree.

Q. From?

A. Broome Community College.

Q. Prior to that?

A. I went to Montrose Area High School.
Q. When did you graduate?

A. I finished in 1998.

Q. Prior to working for Susquehanna

County, did you have any work experience?

A. I did.

Q. Where did you work, starting after you
graduated from Broome County, if you would?

A. I worked for Lockheed Martin.

 

 

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Q. Where are they located?
A. Owego, New York.
Q. Do you remember the dates off the top

of your head?

A; I am sorry, I do not.

Q. Was that right before you started
working for Susquehanna County?

A. It was not.

Q. So, you worked for someone between

Lockheed Martin and Susquehanna County?

A. Yes, sir.

Q. Who was that?

A. Tioga County.

Q. Is that in New york?-

A. Yes.

Q. . What did you do for them?

A. Civil law clerk.

Q. Did you work for the sheriff's office?
A. I did.

Q. Okay. There came a time that you

applied for a job at Susquehanna County, correct?

A. I did.

Q. Why did you do that?

A. Tioga County is in Owego, New York, I
live in Susquehanna County. I was looking for a

 

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position a little closer to home.
Q. Did you know anyone at Susquehanna

County before you applied?

A. I knew a few people, no one very close.

Q. So, you knew of people that worked
there?

A. Correct.

QO. - So, no friends at that time?

A. No.

Q. When you first applied at Susquehanna

County, did anyone interview you?

A. Yes.
QO. Who was that?
A. I was interviewed by Robert Stoud and

Richard Ely.

Q. I am sorry, what was the position that
you were applying for at that time?

A. Administrative Assistant to the Chief
Clerk.

Q. And was Robert Stoud Chief Clerk at
that time, if you can recall?

A. I believe he was the Chief Clerk or the
acting Chief Clerk.

Q. Do you know when you were interviewed

by Mr. Ely what his position was at the time?

 

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A. Human Resources.
Q. You were eventually hired, correct?
A. I owas.
Q. Is it safe to say that Mr. Stoud

recommended your employment with Susquehanna County?
Were you aware of that?

A. Mr. Stoud and Mr. Ely interviewed me
and I was called by Mr. Ely sometime later with a job
offer.

Q. Okay, that's fair. So, you never heard
of any -- ultimately, you were hired by the
Commissioners, correct? |

A. Yes, sir.

Q. But you never heard who might have made
a recommendation or anything like that?

A. I did not...

Q. Okay. When you first started working,
you were hired. as the Administrative Assistant to the

Chief Clerk, correct?

A. Correct.
Q. What were your duties?
A. Administrative tasks for the Chief

Clerk, phones, processing incoming mail; I mean,
anything that I could do to assist the Chief Clerk.

Q. Did you do typing?

 

 

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A. I did typing, typed letters. I was
responsible for the Commissioners' meeting for the
agenda and to take the minutes during that meeting
and, you know, all other duties as requested or asked
by either the Chief Clerk or any of the County
Commissioners.

Q. Okay. Just take a step back. When you
were first hired, who were the County Commissioners,
if you recall?

A, Alan Hall, Michael Giangrieco and Mary
Ann Warren.

Q. Now, you indicated that you would type
letters for the Chief Clerk. Would he dictate the
letters?

A. No.

Q. And, so, how would you go about
creating the content?

A. Sometimes I had documents to go off of,
other times I was just asked to write a letter to
this person, it needs to address topics A, B, and C.

Q. Would Mr. Stoud also type some of his

own work up?

A. He typed almost all of his own work.
Q. Okay, that's what I was getting at,
thank you. Now, you said you also were in charge of

 

 

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the Commissioners' meeting; what do you mean by that?

A. Collect the backup documentation to go
with the motions that are put within the meeting, to
type the agenda, send it out for review, make
corrections to it. The day of the meeting, you know,
make the copies, set up the room. I sat in the
meeting room and took down the motions, like who made
the motion, who seconded it, whether it was carried
or not, and made sure that the supporting
documentation was there.

Q. Would you attend all the Commissioners’

meetings?

A. If I worked that day, I was there.

Q. Was that part of your duty, though?
Was it something you did only because you were there
or were you required to be there?

A, I was required to attend the meetings.

Q. Okay. Because you were taking the
minutes, correct?

A. Yes, sir.

Q. What was your understanding of Mr.
Stoud's duties?

A. He had the job description of Chief
Clerk, which, basically, oversaw operations and

procedures for the County.

 

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if you can remember?

A. I don't remember the exact date.

Q. Okay. Do you know why you were
promoted to Deputy Chief Clerk?

A. I believe I was promoted due to good
work performance and I was doing the tasks of the
Deputy Chief Clerk.

Q. So, let's explain that to me. So,

 

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Q. Would he attend the Commissioners'
meetings, also?

A. He did not.

Q. Why was that, if you know?

A. I don't know.

Q. Okay, that's fine. TIT am sorry, I
didn't -- if there is something you don't know, I
don't know is a fine answer going forward. I don't
want you guessing.

Now, there came a time when your job

title changed, correct?

A. Correct.

Q. Do you consider that a promotion?

A. It was, yes.

Q. Okay. And what did you become?

A. The Deputy Chief Clerk.

QO. Okay. Do you remember when that was,

 

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there was a position of Deputy Chief Clerk that was

unfilled?
A. No, sir.
Q. Okay.
A. I believe at the time Richard Ely was

the Director of Human Resources/Deputy Chief Clerk.
I believe he was preoccupied with the
responsibilities of Human Resources and I was doing
the responsibilities of the Deputy Chief Clerk.

Q. What are those responsibilities, as you
understood them?

A. Everything that the Chief Clerk is
responsible for. I was also responsible for, in his
absence or to do alongside of him, basically, another
‘person in the office for seamless coverage and make
sure that the County operated smoothly.

Q. When you were promoted to Deputy Chief
Clerk, did your duties change? It certainly doesn't
seem like they could give you any more work, so, did
you basically continue to do with a new title?

A. I continued to do my work with a new
title, obviously, a new set of responsibilities. One
of the major things that changed was I had the
ability to sign as the Chief Clerk in his absence, if

needed.

 

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Q. Did this promotion come with an
increase in your salary?

A. It did.

Q. Do you remember off the top of your
head how much?

A. I don't recall an accurate figure.

Q. Okay. As Deputy Chief Clerk, who did
you report to?

A. Robert Stoud, the Chief Clerk.

Q. You make a claim in your Complaint
about an incident involving Mr. Richard Ely. Could

you explain to me what happened in December of 2015
between yourself and'Mr. Ely?

A. It was at the day of the holiday party
at the County that was held during working hours. At
the end of the day, I was sitting at my desk.

Richard Ely came out of his office into sort of the
center of the room. I sat with two other women. Was
saying good-bys, they kind of were hugging and saying
Merry Christmas. I chose not to get out of my desk.
And he hugged a couple of the office ladies and it
ended.

A little while later, I was leaving for
the day. I was one of the last ones to leave, me and

Richard Ely. My car was parked directly outside the

 

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back door. I believe I was taking stuff, you know,
had taken stuff out to my car. My last trip out, he
was behind me.

I got in my car, went to send a text
message, went to get my phone, and I heard a knock on

my window. I looked over, it was Richard Ely. I

‘rolled my window down about halfway just and he kind

of tilted his face sideways, stuck his face in the

window and made kissy lips at me and tried to kiss

-me, followed by you won't get this offer again. I

quickly sat back in my seat, declined. He pulled
back and I rolled my window up and tried to leave the
parking lot as soon as I could.

Q. That was the only contact you had with
him on that particular day?

A. Correct.

Q. I am just going to hand you what I will
tell you is the Complaint filed on your behalf. Do
you recognize it?

A. I do.

Q. Could you turn with me to -- there is
no page number, so, I have to go by paragraph
number -- Paragraph No. 20. I am going to read that.
"In December of 2015, at her workplace, Plaintiff was

approached by Director of Veterans' Affairs, Richard

 

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Ely, who attempted to kiss and hug her."
Did I read that correctly?
A. You did.
Q. Then Paragraph 21, "The Plaintiff moved

away from Ely's advances," correct?

A. Correct.

Q. And then Paragraph 22, "On that same
day, at the end of the workday, Plaintiff was in her
car preparing to go home for the evening," and I will
present to you that the rest of the paragraphs
involve the incident that you just described.

The Paragraph 20 incident, did Mr. Ely
approach you while you were still in your office and
attempt to hug and kiss you?

A. He came over to my desk and I said, no,
I am good, but that was while he was hugging the two
other office ladies. (Indicating).

Q. Okay, just for clarification, did he

Say anything to you: while you were still in the

office?
A. No, sir.
Q. How did he approach you?
A. He came out of his office. I believe

the other ladies were kind of standing around because

it was the end of the day. One of the women was over

 

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there from Voter Registration, I believe, as well.
They all. said Merry Christmas and kind of hugged.
Richard Ely came towards my desk, I said, no, I am
good, (Indicating).

Q. So, you assumed that he was attempting
to hug you?

A. He was hugging all of them and then he
kind of came towards me and I says, no, I am good,
and the ladies laughed. (Indicating).

Q. Now, after this incident, in December,
did you report it to anyone?

A. I did.

Q. Who was that?

A. Robert Stoud.

Q. When did you report it, if you recall?

A. The day it happened.

Q. How did you report it to him?

A. I called him when I left the parking
lot.

Q. You called him on his cell phone?

A. Yes.

Q. That was after working hours, correct?

A. Yes.

Q. What did he tell you?

A. He said to go home, enjoy the holiday,

 

 

 

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that he would take care of it and to not let it ruin
my holiday.
QO. Did you talk to him at any time over

the holiday about the incident?

A. I did.
Q. When was that?
A. Later that evening, Robert Stoud called

to let me know that he had spoken to the County
Commissioners to make them aware of what happened and
that it was going to be addressed and again told me
not to worry and to enjoy my holiday.

Q. After that second call back, did you
talk to Mr. Stoud at all during the holiday weekend?

A. I did not.

Q. What happened when you came back in the
next working day with regard to this incident?

A. I am sorry, I don't know exactly what
day it was taken care of.

Q. Other than these two phone calls on the
day of the incident, did you ever talk to Mr. Stoud
again about the incident?

A. Yes.

Q. When was that, if you recall?
A. I don't recall the exact date. I did

speak with him, he let me know that the Commissioners

 

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had met and that the decision was to give him, I
believe, a final warning.

Q. To give who?

A. Richard Ely a final warning and that
was it.

Q. Did you ever prepare a written
statement?

A. I did.

Q. Do you know where that written
statement is?

A. I have a copy of it.

Q. Okay. I ask that you supply it to your

attorney. I don't have it and I don't think it was
in any of the County documents that I had.

| Who asked you to prepare the written
statement?

A. I prepared it myself just as an account
of what had happened so that I would have an accurate
recollection, if needed.

Q. Okay. Mr. Stoud never requested you to
prepare a written statement?

A. He said it was a good idea that I have
one after I had made it.

Q. Made the report?

A. Yes.

 

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statement to Mr. Stoud?

A. I believe so.

(At this time Defendant's
Exhibit No. 1 was marked
for identification.)

BY MR. HAILSTONE:

Q. I am going to show you what we are
going to label as Defendant Exhibit 1. I will ask
you have you seen this document before?

A. IT have not.

Q. So, you have never reviewed this

document?

written warning in the re at the top of the page.

warning to Mr. Ely from Mr. Stoud.

of what this is?

A. Yes, sir.

Q. I will ask that you read with me,
please, the second to last paragraph, the first

sentence. I will just read it into the record.

 

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Q. Did you ever give a copy of the written

A. No, sir.
QO. | Okay. I will submit that it is the
final writing warning. I think it's supposed to be

Tt

is dated December 30, 2015, and it is a final written

Is that, basically, your understanding

 

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"Based upon the above events, please
consider this letter to be a final written warning.
Regardless of your motivation or intent, your conduct
on December 23, 2015, was unprofessional and
unacceptable and will not be tolerated at any level
in the future."

I read that correctly? .Did I read that
correctly?

A. Yes, sir.

Q. What was your understanding of what

happened to Mr. Ely after the incident? Did Mr.

Stoud tell you what the County's decision was with

regard to him?

A. He did.
Q. Okay. What did he tell you?
A. He was getting a formal warning, final

warning and a letter in his file.

Q. Okay. What was your understanding of
the final warning? What did that mean?

A. That it was the final warning and he
wouldn't be given any additional, I guess, chances.

Q. | Okay. Were you satisfied at that time
with the County's reaction to the incident?

A. I was not.

Q. What would you have rather them do?

 

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Why weren't you satisfied with the final written
warning?

A. I think that maybe it deserved a little
bit more. I don't know exactly what but something a
little bit more.

Q. Did you ever approach Mr. Stoud with
your concerns?

A. I did and his response was this is what

the County Commissioners felt was an acceptable
reprimand.

Q. And sitting here today, is there
anything reflected on this that you think should have
been done?

A. I am not sure I can answer that.

Q. Okay. No, that's fine. Are you
familiar with the personnel handbook from Susquehanna
County?

A. Yes, sir.

Q. So, do you understand the severity of a
final written warning?

A. I do.

Q. Do you know of anything outside of
firing the person above or more severe than a final
written warning?

A. I don't.

 

 

 

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Q. Now, looking at the letter, itself,
focusing on the first paragraph -- and, again, I
understand you have not seen this before and you
didn't get to review it before Mr. Stoud completed it

-- there is no mention in the first paragraph that

Mr. Ely approached you and attempted to hug and kiss

you, isn't that correct?

A. I am sorry, what did you say.

Q. The first paragraph deals with the --
the first paragraph doesn't mention Mr. Ely
approaching you inside the Susquehanna County

building and attempting to hug and kiss you, isn't

‘that correct?

A. That is correct.

Q. But you told Mr. Stoud that that
happened?

A. I did.

Q. So, him not including it is a mistake?

A. I believe SO.

Q. And the written document that you said

you produced and gave to Mr. Stoud, did that include
that incident?
A. I don't recall.
(At this time Defendant's

Exhibit No. 2 was marked

 

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for identification.)
BY MR. HAILSTONE:
Q. I am going to give you a document that

we will refer to as Defendant's Exhibit 2. And I
will submit to you that it is an undated document and
there only is a reference to Steve and it is signed

by Rich Ely. Have you seen this before?

A. I have not.

Q. Okay. Take a second to review it.

A. Okay.

Q. Now that you have reviewed it -- and,

again, I understand you have never seen it before and
I will represent to you that the Steve at the
beginning of the letter is -- well, actually, I have
no idea who the Steve is. Who is the Steve? Do you
know who he would write the letter to?

A. I believe Steve is referred to --
Robert Stoud goes by Steve.

Q. Steve, correct. And it is signed by
Richard Ely. And I will submit to you that Mr. Stoud
asked Mr. Ely to prepare a written document of the
incident after it was reported to him. |

Does Mr. Ely's recitation of the facts,
do you have any issue with what he writes here?

A. Well, the "Maggie, I was just trying to

 

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wish you a Merry Christmas. That doesn't happen
every day" or "I hope you and your family have a
wonderful Christmas," I don't believe that those were
said. I recall him saying you don't get this offer
every day and then, obviously, I was uncomfortable
and he pulled his head back.

And as far as my recollection, the
conversation pretty much stopped at that point.

Q. Okay. But you would agree that he does
admit that he attempted to kiss you, put his head in
the car, correct?

A. Yes, sir.

Q. He doesn't make any mention of
attempting to hug and kiss you while still in the
building, correct?

A. Correct.

QO. You stated earlier that you did witness
him hug Diane, Jeanne, and Sally, correct?

A. I did.

Q. And anyone else at that time, other
than those listed, that you can recall?

A. I don't believe so.

Q. You agree with me that Mr. Ely got a
final written warning but it was only for the

incidents involving him leaning into your car,

 

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correct?

A. Correct.

Q. And you mentioned that there was a
document that you prepared and that you believe you
gave to Mr. Stoud. And I am just going to have you
look at a document that we will refer to as
Defendant's Exhibit 3.

(At this time Defendant's
Exhibit No. 3 was marked
for identification.)

BY MR. HAILSTONE:

Q. Have you seen this document before?
A. I believe so.
Q. Okay. I will submit that it is filed

on behalf of you by your attorneys and it's what they
refer to as Rule 24 disclosures. And I would like to
bring your attention to Paragraph 2, which lists a
series of four documents in the possession, custody,
and control of the Plaintiff.

You mentioned earlier that there is
another document that you prepared regarding the
incident that's not in this list, but are there any
other documents that you are aware of that have
anything to do with your case?

A. Not that I am aware of.

 

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Q. Okay. And you reported the incident in
December of 2015; do you recall when Commissioner
Arnold took office?

A. The first business day into the next
year.

Q. What year?

A. The following year.

Q. 2016?

A. So, 2016.

Q. Okay.

A. I don't recall the exact date.

Q. Had you had any contact with her prior
to her becoming Commissioner?

A. Briefly.

Q. Could you describe that?

A. I knew who she was from working in the

Chief Clerk's office, helping with election night. I
knew she was running as a member of the community. I
didn't have any like real personal contact with her
but I knew who she was. She was a candidate running
for County Commissioner in an office that I worked
in, so, I tried to make myself aware of who she was.
Q. And do you know whether Mr. Giangrieco
resigned or did he lose his position to Commissioner

Arnold?

 

 

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A. ' He chose not to run for an additional
term, so, his term ended. Arnold was the person
elected to fill that vacancy.

Q. So, she ran for a vacant spot?

A. Yes, sir.

Q. To your understanding?

A. Yes.

Q. Now, you allege in your Complaint that

Commissioner Warren and Commissioner Arnold subjected
you to unfair criticism. What was the criticism that
you believed was unfair?

A. It was the majority of the
Commissioners' agenda and critiquing the grammar in
it, the spelling. They made comments that it was
sloppy work performance. It was highly critiqued and
unjustly looked at.

Q. | When you say unjustly looked at, what
do you mean by that?

A. The errors that I had were minimum,
comparatively speaking to the people who held my
position prior. I was referring back to prior
approved Commissioner meeting minutes, pulling
verbatim motions that were approved by Commissioner
Warren for such motions that were recurring motions

that happened yearly, putting them into my current

 

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agenda, and then they weren't correct.
Q. Other than the historic motions, was
there any other issues with your agenda items or

items that you presented?

A. Yes.
QO. What was that?
A. She critiqued all of them, down to

minutes before the meeting was set to start.

Q. What do you mean by minutes -- you
don't mean the written minutes, you mean prior to the
meeting?

A. The agenda that goes into the meeting,
meetings start at 9:00 o'clock, I was making changes
to the agenda that goes out there -- attached to the
agenda are the written minutes from the prior meeting
to be approved, making changes up until minutes
before the meeting.

Q. Now, this criticism from Commissioner

Warren, who was Commissioner in 2015, correct?

A. Correct.
Q. How long was this going on?
A. She started critiquing my agendas as

soon as Elizabeth Arnold took office.
Q. So, this happened in 2016?

A. Yes, sir.

 

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Q. So, she never criticized anything you
did prior to. December of 2015?

A. She had constructive. criticism or
suggestions for wording on prior things that I had
done, you know, very professionally given, you know,
a word change here and add something there. It was
absolutely not at the level that, unfortunately, it
spiraled up to be.

Q. And as far as Commissioner Arnold, what
were her unfair criticisms?

A. She felt the need to change an agenda
or critique an agenda after Commissioner Warren would
critique an agenda. And then, unfortunately,
Commissioner Warren would not like the change that
Commissioner Arnold made and would want it changed
back. That left me in the middle making changes to
one document that two people want separate changes to
up until right before the meeting starts.

The agenda is given a few days in
advance for changes and corrections with, you know, a
guideline to send it back, to, you know, stop making
corrections at a certain time so that way it is
finalized and ready.

Q. What was that guideline?

A. It changed a few times. The best of my

 

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ability that I can recall is I believe the agenda is
out -- the first draft is out by noon the Friday
before the meeting. So, that gives them the rest of
Friday, Saturday, Sunday, Monday to make changes so
that on Tuesday, 1 am just putting the documentation
together, numbering it, all the documentation is
together, making copies so we are ready to go by
Wednesday morning.

Q. Who imposed that Friday agenda
deadline?

A. It was an agreement that the Chief
Clerk and the Commissioners came up with as what they
would like to see as the guideline.

Q. When was that?

A. I don't know exactly the one that went
into effect.

Q. But the Chief Clerk had nothing to do
with the agenda, correct?

A. That is not correct. When the agenda
came out from myself before Friday at noon, I would
send it to the Chief Clerk and all three

Commissioners to be reviewed.

Q. Would the Chief Clerk make changes?
A. Absolutely.
Q. Would Commissioner Hall make changes?

 

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A. Yes, sir.

Q. And you admit that some of the issues
were errors that you had made with the agendas?

A. On occasion, on a rough draft, I would
have a grammatical error or a phrasing that they
didn't like.

Q. You also allege in your Complaint that
Commissioner Warren was over-critical of you. What

do you mean by that?

A. I just couldn't make her happy. You
know, as many times as I tried or different ways, you
know, there was always an issue, always something
that needed to be fixed. She made a comment that she
stopped correcting my errors hoping that I would be
humiliated in a public meeting.

Q. She made that comment to you?

A, I believe she made that comment -- I
heard it from the Chief Clerk.

Q. So, she didn't say that to you?

A. No, I believe she said it in a meeting

with the Chief Clerk and some other Commissioners.

Q. Now, Mr. Stoud repeated it to you?
A. Yes, sir.
Q. You also allege that Commissioner

Warren publicly humiliated you. When did that

 

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started taping the Commissioners' meetings and
streaming them on YouTube.

Q. But you don't know anyone, other than

who would have been a witness?

A. Any member of the public who was in
that meeting, you know. And the amount of -- the
public individuals vary from meeting to meeting.

Q. Did you ever speak to any of these
members of the public regarding this issue?

A. No, sir.

Q. On the subject of witnesses, I am goi

 

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happen?

A. During the Commissioners' meetings when
she would either say that I made an error or this
wasn't written right.

Q. Was this every meeting?

A. Just about.

Q. What would she say?

A. I don't exactly know what she said
every time, I am sorry.

Q. Who would have been a witness to these
incidents?

A. The other Commissioners and any member
of the public who came. And, also, at one point we

to name the Commissioners, you don't know anyone else

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to turn your attention back to what is right in front
.of you, the Rule 26 disclosures. And I am going to
ask you to turn to the very first page and there is a
list of witnesses, potential witnesses that was
provided by your attorney. IT just want you to look
at all of them and I have some questions.

A. Okay.

Q. Do you know of anyone not listed here
that has relevant testimony regarding your claim
against Susquehanna County?

A. I don't believe so.

Q. Okay. I am going to ask what
testimony, what relevant testimony do you believe
Jeanne Conklin has with regard to your claim against
Susquehanna County?

A. Jeanne Conklin became the new Director
of Human Resources. I believe she can tell you that
Commissioner Warren and/or Commissioner Arnold had
both been in her office indicating that Robert Stoud
and myself need’ to be separated, alleged that there
was possibly an affair going on between us, and then
also came in and said I just want them fired.

Q. Okay. And did Ms. Conklin tell you
this?

A. Ms. Conklin did not tell me this. She

 

 

 

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did, in fact, go to Commissioner Alan Hall and Robert

Stoud.

Q. And, so, you learned this information

through whom?

A. Commissioner Hall and Robert Stoud.
Q. What did Commissioner Hall tell you?

A. I don't recall exactly word-for-word
what he told me. |

Q. But what you just testified to, the
incidents when Commissioners Warren and Arnold sought
to have you fired, claimed that you were having an
affair and that you needed to be broken up, did that
information come from Commissioner Hall?

A. Yes, but I believe Robert Stoud told me
first.

Q. Okay. So, the information regarding a
claim of an affair, the demand that you and Mr. Stoud
be broken up and that you should be fired, you heard
that from Mr. Stoud, correct?

A. Yes, sir.

Q. And he indicated that he heard it from

Commissioner Hall, correct?

A. He heard it from Jeanne Conklin.
Q. Oh, Mr. Stoud heard this from Ms.
Conklin?

 

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A. I believe Ms. Conklin told Mr. Hall and
Mr. Stoud. T don't know whether it was together or
separate.

Q. Okay. When you spoke to Commissioner
Hall, you don't recall what he told you regarding
these incidents?

A, Commissioner Hall told me that Mary Ann
was unhappy and Betsy was unhappy. They wanted Mr.
Stoud and myself split, thought that there was too
much of us -- time of us being together. Didn't

‘understand why we spent so much time together, even
though they were assured that it was for County
business. And I believe Elizabeth Arnold made the
comment that she needs to split us up to save his
Marriage, because there either was or there was going
to be something that happened between us.

QO. Do you remember when Commissioner Hall

told you this?

A. Late May, early June.

Q. Of 2016?

A. Yes, sir.

Q. Do you need to take a break? I see you
looking at your attorney. That's okay. There is no

question on the table.

MR. SZEWCZYK: If there is no

 

 

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question, we can take a break, if you
want.
MR. HAILSTONE: Do you want to
take a break?
MR. SZEWCZYK: It is up to you.
THE WITNESS: Io am okay, I think.
MR. HAILSTONE: Okay. I just ask
that you don't look to your attorney for
answers. |
THE WITNESS: Oh, sorry.
MR, HAILSTONE: That's okay.
BY MR. HAILSTONE:

Q. So, you spoke to Commissioner Hall
sometime in May or June of 2016 and he told you these
things, correct?

A. Yes.

Q. But prior to that, you had also heard
this from Mr. Stoud; is that your testimony?

A. Yes.

Q. As far as Lana Adams, what relevant
testimony do you believe that she can provide? First
of all, who is Lana Adams?

A. She was the County Chief Clerk sometime
after Steve left being the Chief Clerk.

Q. Steve Stoud, correct?

 

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A. Steve Stoud, sorry.

Q. That's okay. What relevant evidence
does she have or relevant testimony?

A. I don't know.

QO. Okay. That's fine. Sometimes
attorneys add names just to be on the safe side and
that's why I am going through it because I didn't
know what she would have.

And, finally, Stephen Janoski, who is

that?
A. . Stephen Janoski works in the County IT
department.

Q. What relevant testimony do you believe
Mr. Janoski would have regarding any of your claims?

A. I know that after I left the County
Commissioners’ office and transferred to a different
department, some months later the Commissioners put
in a request to pull all of my E-mails between myself
and Robert Stoud. I would assume that Stephen
Janoski was the person who would have gathered those
E-mails.

Q. Okay. Explain this to me. What
happened? What E-mails are you referring to?

A. Some time a few months after I was in

the District Attorney's office -- and I only heard

 

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this through Mr. Stoud -- I was informed that
Commissioner Warren and Commissioner Arnold asked the
IT department to pull all E-mail exchanges between
myself and Robert Stoud. And this was months after I
left that position. I was never informed that they
were pulling my E-mails or anything like that, but
that would be the reason that I would think that he
might be on the list.

Q. Now, your E-mails, are you talking

about your County work E-mails?

A. Yes, sir.
Q. But this wasn't any personal E-mails?
A. No, no, just County. I don't know,

like County E-mail address to County E-mail.

Q. You didn't have a problem with them
looking at your E-mails, correct?

A. There is nothing non-work-related or

nothing bad in those E-mails.

Q. But, also --

A. I just didn't know that it was
happening. No one told me ahead of time -- actually,
nobody, except for Steve, letting me know. I was

never informed by the IT department or the
Commissioners that they had pulled my E-mails.

Q. Do you think they would have to inform

 

 

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you?

A. I don't know.

Q. Okay. Other than being a little
annoyed, you don't know if they did anything wrong;
is that what you are saying?

A. Correct.

Q. Now, you allege in your Complaint that
you spoke to Commissioner Hall about the criticisms
of Commissioners Warren and Arnold. Do you recall
when you talked to him about that?

A. I don't. Commissioner Hall and myself
had many conversations.

Q. Conversations specifically about
Commissioners Warren and Arnold?

A. Yes, sir.

QO. And what was the tone of these
conversations?

A. In the beginning, it was just how do we
make it stop, how do we fix this to make them happy.
By the ‘end of our conversations, Commissioner Hall
was talking to me telling me -- agreeing with me that
there was a position open in the District Attorney's
office and that I should strongly consider applying
for it. . Because they were going to fire me and at

some time he would not be there to put a ruling in,

 

 

 

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and if the two of them voted, there wasn't anything

he could do about it.

Q. So, it was Commissioner Hall that
suggested you transfer to the District Attorney's
office?

A. He felt that it was a good idea that I
apply for it.

Q. And Commissioner Hall indicated that it
was his understanding that Commissioner Warren and

Commissioner Arnold were going to fire you?

A. Yes.
Q. And why did he tell you that?
A. Prior to that, there was a meeting or

multiple meetings between the Commissioners and the
Chief Clerk. I was not an attendee at any of those

meetings. I know that they wanted me fired at that

point.
Q. Do you know what time frame this was?
A. It had to have been early June.
Q. Of 2016?
A. 2016. fT am sorry, I keep leaving the

Q. That's okay.
A, It goes back and forth with just, it
seems, meeting after meeting of them talking. Now, I

 

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am not invited to any of these meetings, I only hear
the secondhand either from Commissioner Hall or Steve
Stoud. And at one point, because Steve would not do
what they requested, the response was, well, if you
are not going to do this, we are going to fire her.

I am not in the room and I am not a party to that

action.
Q. And Steve told you that?
A. And Steve told me that.
Q. Do you know what they wanted him to do?
A. I don't know a hundred percent, I. am
sorry.
Q. Did it have anything to do with his

work, if you recall?
A. I don't know exactly what. I just know
that after the meeting, the tone was if he didn't do,

A, then it was to fire me.

Q. Did he do whatever it was he was being
demanded?

A. I don't know.

Q. So, it could have been he was supposed

to help you with your work, but you have no idea?
A. I don't exactly know. I know at the
end, I had to have a counseling session with him

about possible, I think, laughter in the office.

 

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Q. Okay. You also allege that
Commissioners Warren and Arnold complained about your
interaction with other employees. How did you learn
this?

A. I learned that through Chief Clerk
Stoud after one of the meetings that he attended that
I was not a party to and then when I responded back
to him who are the employees, he said he did not

- know, because when he asked, I believe Commissioner
Arnold said I don't have to give you the names.

Q. Okay. So, in sitting here today, you
have no idea what that allegation was?

A. For those employees, I do not.

Q. And no one ever approached you to say
there was an issue with your interaction?

A. One employee's name surfaced. Her name
.was Mary Noldy. And when Robert Stoud, as my
Supervisor, reached out to Mary, she said that that
was a non-issue and that she never had an issue.

Q. Did you ever talk to Ms. Noldy about
this issue?

A. No.

Q. Is it your understanding that Mr. Stoud
talked to her about this issue?

A. Yes, sir.

 

 

 

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Q. You have alleged that you were assigned
to work with Mr. Ely. Could you explain that to me?

A. What part? |

Q. After the December 2015 incident, you

allege that you were assigned to work with Mr. Ely?

A. How?

Q. What were you doing? When was this?

A. I am sorry, I don't remember the exact
date.

Q. Okay.

A. At some point Richard is no longer the

Director of Human Resources, he becomes the Director
of Veterans' Affairs. Either right before that
happens or right after that happens, the woman who
worked in the Veterans' Affairs office quits.

The next day, there is no one in
Veterans! Affairs. The Commissioners assigned me
over to Veterans! Affairs to just assess the
situation, you know, trying to make phone calls, call
the state, figure out where claims are. I am not
familiar with Veterans’ Affairs but, you know, trying

to see what I can do.

At some point -- Rich is now the
Director of Veterans' Affairs. So, now, I am trying
to learn the office. I am trying to teach him the

 

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office or give him whatever information I have
managed to secure and pass it on to him. And that
happens for a couple of weeks, you know.

Q. So, you started working at Veterans'
Affairs before Mr. Ely became the director?

A. I believe he was the director, but he
was still in his Director of Human Resources office
across the street. I believe he was trying to help
do stuff over there and sort of transition. But we
are going into an office that the prior director had
been let go and then within a very short amount of
time, the other woman had -- was there one day and
quit and did not come in the next day. So, just
trying to figure out with work in progress where
everybody is.

Q. Was that Ms. Minarski who left, if you
can recall? If you can't, that's okay. You said the
Commissioners assigned you to Veterans' Affairs,
correct?

A. Um-hum, yes.

9. You still had your duties of Deputy
Chief Clerk?

A. Yes, sir.

Q. Now, did Commissioner Hall ever ask you

if this was going to be a problem?

 

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45 _
A. I don't recall.
QO. And Commissioner Warren also asked you
whether this was going to be a problem?
A. Commissioner Warren just sent me over.
Q. What do you mean by that?
A. She came in the next day, the office

was empty, you know, and said can you go over and see

what is going on.

Q. so, she asked you to go?

A. It was a directive.

Q. Do you recall what she said?

A. Not exactly.

Q. So, when you said she said can you go,

that was a mistake on your part?

AL Yes.

Q. And she never asked you if this was
going to be a problem?

A. No, sir.

Q. And as regard to Commissioner Hall, he
never asked you whether this was going to be a
problem, either?

A, Once he was aware of it, I don't
believe that he was very happy with it. But I was
trying to do the very best I could to help the

veterans of our community by returning phone calls

 

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and trying to secure things for them. Because while
no one is in the office, claims aren't being filed
and they are not getting monetary checks coming to
them. Funerals aren't paid for.

Q. Why was Commissioner Hall not happy
about this?
A. Because it directly put me back working

in a very small office with Richard Ely, who I had
already had an incident with very shortly beforehand
and I was still uncomfortable with him.

Q. Did you tell the Commissioners you were
uncomfortable?

A. I reported it to my supervisor that I

was uncomfortable.

Q. Who was that?
A. Robert Stoud.
Q. Do you know if he ever reported it to

the Commissioners?

A. He did.

Q. Then what happened?

A. I was told I still needed to stay over
there.

Q. And how long were you in the same _

office with Richard Ely?

A. Only a couple of weeks.

 

 

 

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Q. Well, you mentioned there was a
transition period that he wasn't actually in the
office, so, how long were you in the Veterans'
Affairs office the entire time?

A. I never spent an entire day there
because I still had a desk across the street and I
still had other responsibilities. Some days I would

spend a large majority of my day over in the
Veterans' Affairs office physically being there,
other times, I believe until we had it figured out, I
think we had the phones transferred to roll over to
my desk across the street so that I could try to
field phone calls from over there. Because [I still
had responsibilities on the other side of the street
to attend to. Rich was doing much of the same thing,
you know, I would either talk to him while I was on
the courthouse side or while we were on the County
office side, which the offices are across the street
from each other.

Q. Now, you allege that you reported your
concerns to the Commissioners in the Complaint, but
here today, you are telling me that, actually, you
reported it to Mr. Stoud, correct?

A. I reported it to Mr. Stoud.

Commissioner Hall would come and speak to me, I would

 

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convey the same concerns to him. My initial report
has always been to my direct supervisor. You know,
if a Commissioner came to ask me, specifically,
Commissioner Hall, I would tell him the same thing.

Q. And did you ever report it to any of
the other Commissioners?

A. That I was uncomfortable with Mr. Ely?

Q. Correct.

A. I did not, i don't believe.

Q. You also allege that Mr. Ely was
yelling and getting angry at you, correct?

A. On occasion, he did have a temper and
would yell and get angry.

Q. Did you report that to Mr. Stoud?

A. Yes.

Q. And what happened?

AL Nothing.

Q. Now, in the Complaint, which I am going
to bring you back to, I would ask you to look at
Paragraph 37. It states, "In 2015, the harassment
and criticism from the Defendant Commissioners
continued." I am assuming that's supposed to be May
of 2016?

A. Yes, sir.

Q. I wanted to make sure we were -- that

 

 

 

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was correct. What do you mean by in May of 2015 it
continued? Had something happened prior to May?

A. Could we take a break for a second?

Q. Sure. But I am only going to caution
you, I understand you didn't write this and I really
just ama little confused about why the May is there
and if there is something that happened. That's
really what I am looking for, if you could answer
that before you break. It might just be the way it
was prepared and that's fine, too. |

MR. SZEWCZYK: Could she read

maybe the preceding paragraphs and maybe

that will put it in perspective of what

you are asking, because the context

would help.

BY MR. HAILSTONE:

Q. Yes.

A, I don't: know exactly when everything
happens. TI just know that I make the complaint about
Richard Ely and then afterwards, everything just goes
to such a heightened level of criticism and then I
have to go to Veterans! Affairs, you know, and I am
trying to help there and come back. In the meantime,
I am still trying to do the agenda and there is

criticism and complaint. And I am pulling old

 

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motions and verbatim of what has been done prior that
has been A-okay and now all of a sudden it isa
hundred percent wrong and the same motion that you
have approved for the last five years. And I am
trying to figure out why all of a sudden it is wrong,
how I can fix this.

You know, there is -- they are making
complaints that I am being unprofessional to County
employees or department heads. I have never had a
complaint of being unprofessional or not courteous.

I have always gone out of my way to help whoever is
needed.

By May of 2016, it just keeps
happening, and I think that's why it is written in
there. And at this point I am talking to Robert
Stoud, I am talking to Commissioner Hall just about
every single day of what is happening next. The
instances are starting to kind of just go day-to-day
and it's just been getting really hard and just very
stressful.

At some point here, I guess that's
where it is alleged that I -- you know, I am going to

ruin his marriage, that I am either having an affair

or I am going to have an affair.

Q. With Mr. Stoud?

 

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A. With Mr. Stoud, who has been nothing —
but a fantastic mentor to me, someone who is a
decorated State Trooper, who was willing to share all
of the knowledge that he had as far as management
skills, how to talk to employees, and was passing
that information on to me so that I could succeed
within the County. $0, it just keeps happening.

And then there is meetings that I am
not a.party to that when the meetings are done, they
are asking that I be fired or they have gone in to
see the current director of H. R. asking for me to be
terminated. I don't really have a way to defend
myself. And that's pretty much what is happening in
May of 2016 right into June.

MR. SZEWCZYK: Do you still want

to take that break or are you good?

THE WITNESS: Just a break for a

minute.

(At this time there was a brief

recess taken.)

MR. HAILSTONE: Back on the

record.
BY MR. HAILSTONE:
Q. Ms. McNamara, you allege in your

Complaint that Mr. Stoud spoke to Commissioner Hall

 

 

 

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and County Solicitor Giangrieco about the complaints
you had made about Commissioners Warren and Arnold;
how do you know that he spoke to them?

A. He told me he spoke to them.

Q. Okay. Did he tell you -- we have
talked extensively about Commissioner Hall but did he
tell you anything that County Solicitor Giangrieco
told him in response?

A. Solicitor Giangrieco was of the opinion
that Commissioner Warren and Commissioner Arnold were
singling me out and that the treatment needed to
stop. I believe he met with the Commissioners and
told them to make it stop, knock it off, what are you
doing. It did not help.

Q. Let's take a step back. Two questions
from your response.

Did you talk to former Solicitor
_Giangrieco at any time regarding these incidents?

A. I don't believe we had a conversation
directed on just these.

QO. Okay.

A. Io mean, I worked with him as the
Commissioner and then I worked closely with him as
our County Solicitor as, you know, day-to-day

business operations.

 

 

 

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Q. So, when you say that Solicitor
Giangrieco had an opinion, how did you surmise that?
How did you get that information?

A. I was told from Robert Stoud that they
had a meeting, they met. The Solicitor was going to,
you. know, meet with the Commissioners, you know, tell

them to stop.

Q. Do you know if that meeting ever
happened?

A. I don't believe it was a formal
meeting. The Solicitor sort of stops in every

morning to see if there is anything brewing at the
County, is anything is new, and I think during those
times is when he would come through and had
conversations of stop. I don't recall that it was an
actual scheduled meeting. |

Q. And you only heard about it secondhand
through Mr. Stoud?

A. Through Mr. Stoud or because I was in
the office. You know, on occasions, the
Commissioners were in the Commissioners!’ meeting room
with the Solicitor and the door closed.

Q. But you didn't know what they were
discussing?

LAS I don't know always know what they were

 

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discussing, no.

Q. Do you know if Mr. Stoud has some kind
of a family relationship with Mr. Giangrieco?

A. Not that I am aware of.

Q. Okay.

A. Like are they related?

Q. Correct, through Marriage or anything

like that. You don't know?
A. I don't know, I am sorry.
MR. SZEWCZYK: If you don't know,

you don't know.

BY MR. HAILSTONE:

Q. I am trying to confirm something,
that's all.
You also indicate after Mr. Stoud spoke

to Commissioner Hall and then the County Solicitor

that no remedial action was taken. What do you mean
by that?

A. Just that they didn't stop.

Q. Did you seek some kind of remedial
action?

A. I don't understand the question, I am
sorry.

Q. On Paragraph 39 of your Complaint --

and, again, you didn't write it, I understand it was

 

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written by your counsel -- it just says no remedial
action was taken. I was just curious as to whether
you had requested something specific that didn't
happen.

A. I mean, I am sure that I requested to
not have my agendas torn apart or what can I do
better or what is the issue. I am sure that I
asked -- you know, the Commissioners' meeting is held
twice a month. Starting the week beforehand is when
the agenda starts. So, it is a good majority of the
month is just prep, do the meeting, clean up from the
meeting, and there is always a critique.

And then there is things going on in
the meantime in trying to get information and, you
know, complaints of why don't I know this
information. You know, some of it is beyond my
control.

(At this time Defendant's

Exhibit No. 4 was marked
for identification.)

BY MR. HAILSTONE:

Q. I am going to give you Defendant's
Exhibit 4. Have you seen this document before?

A. ~° IT have seen it before.

Q. You prepared this document, correct?

 

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A. I did.
Q. It is your resignation letter, correct?
A. Yes.
Q. It is dated June 2lst, 2016, correct?
A. It is.
Q. And who did you supply this to?
A, I don't remember exactly who I gave it

to. Human Resources would have needed it.

Q. And it states that you intend to resign

from your position as Deputy Chief Clerk and upon
approval, transfer to the District Attorney's office
as the Victim Witness Coordinator, isn't that
correct?

A. Correct.

Q. You didn't mention in your letter any
of the issues you were having with the Commissioners
Arnold and Warren, correct?

A. I did not.

Q. On June 21st and thereafter of 2016,
Mr. Stoud was also in the District Attorney's office,
correct?

A. I don't know exactly when he was in the
District Attorney's office. I believe that he is a
member of the task force, which is overseen by the

District Attorney, but I think he was a member of

 

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that since maybe he has been a County employee, you
know, so.

QO. Did there come a time that he became

Chief Detective of Susquehanna County?

A. There was, yes.
Q. Do you recall when that was?
A. I don't recall the exact date. It was

quite a few months after I was in the District
Attorney's office.
Q. But Mr. Stoud resigned before you did
from the position of Chief Clerk, correct?
A. I don't believe so. I am sorry.
MR. SZEWCZYK: You can only
testify to what you recall.
(At this time Defendant's
Exhibit No. 5 was marked
for identification.)
BY MR. HATLSTONE;:
Q. Just for your recollection, I am going

to give you what we will mark as Defendant's

Exhibit 5. Have you seen this document before?
A. I have not.
Q. Okay. I will represent to you that it

is Mr. Stoud's resignation letter dated June 14,

2016. Were you aware that he had resigned before you

 

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did?

A. No. I believe he turned this in, but
it does Say aS soon as practical; so, I believe they
would have had to have put an ad out, advertised and
hired somebody before he could leave; where I was
able to just transfer and go. So, I am sorry, I
never seen this before.

Q. He never told you that he resigned?

A. We had some conversations about him
possibly just going back over to be the Director of
Public Safety. I guess I didn't know the exact
timeline.

QO. Okay. You mention in your Complaint

that you suffered a loss of pay as a result of the

transfer. How much was that?

A. I don't have an exact dollar figure
with me.

Q. Do you recall how much you were making

as Deputy Chief Clerk?

A. I don't, I am sorry. It has been
awhile.

Q. You don't recall how much you made when
you became the Victim Witness Coordinator?

A. I went from a salaried position with a

set salary and a nonunion position to an hourly

 

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position that became a union position; so, I don't
have the documentation with me to show what the
breakdown was between leaving a salaried position and
going to an hourly union versus nonunion.

Q. At least for today, do you recall
whether it was a significant loss of income?

A. Any loss of income to me would have
been significant.

Q. That's fine. Were you able to still
pay your bills?

A. We did.

Q. It was significant but you don't recall
exactly how severe it was?

A. I am sorry, I don't.

QO. When you became an hourly worker, were

you eligible for overtime?

A. If the position required it, I was.

Q. Did you ever. have overtime?

A. I did.

Q. You also mentioned that you went from a

nonunion to a union position, correct?

A. Correct.

Q. After you became the Witness Victim
Coordinator, did you have any more contact with the

Commissioners?

 

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A. I did.
Q. In what capacity?
A. They are still the head elected
officials to the courthouse. I worked for a

different elected official, the District Attorney,
Robert Klein. You know, they still work together.
After I took my position, Commissioners
Warren and Arnold went to District Attorney Robert
Klein and asked him not to hire me or to get rid of
me, and I believe he asked them to leave his office.

Q. Okay. Who told you this?

A. Robert Klein told me this after the
fact and I also heard it from Robert Stoud, as well.

oO. What exactly did Mr. Klein tell you, if
you can recall?

A. . DA Klein just kept reassuring me not to
worry about it, that I was a great employee and that
I was working for him and that they had come up to
tell him either to get rid of me or to not hire me
and he said that he wouldn't have it in his office
-and asked them to leave.

Q. Now, this was after they approved your
transfer?

A. Yes.

Q. And Mr. Stoud also told you this?

 

 

 

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A. Yes.

Q. How did he know about this?

A. Through DA Klein.

(At this time Defendant's
Exhibit No. 6 was marked
for identification.)

BY MR. HATILSTONE:

Q. I am going to give you what we will
refer to.as Defendant's Exhibit 6. Review this
document, if you would.

A. I have seen this.

Q. And what is it, in your understanding?

A. It was a counseling session that I had
with the Deputy -- or the Chief Clerk, as I was the
Deputy Chief Clerk.

Q. So, that would be Robert Stoud,
correct?

A. Yes.

Q. What were the circumstances of that
counseling session?

A. I am sorry?

Q. What were the circumstances? What led

to this counseling session? What were you told?
A. This counseling session with me

resulted in multiple conversations between the Chief

 

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Clerk and the three Commissioners. And I believe the
Chief County Solicitor was in on some of those
meetings, as well. I was counselled by Robert Stoud.

Q. We are to assume it happened sometime
around June 10, 2016?

A. Yes.

Q. And you signed this document, correct?

A. I did.

OQ. From my own curiosity -- did you
prepare this document?

A. I did not.

Q. Then maybe you don't know why Mr. Stoud
decided to put (sic) after each of the headings?

A. He put (sic) to say that it was a
direct quote from the back page, I am assuming.

Q. Oh, okay. There is numbered paragraphs

starting with Lack of Communication and ending
Paragraph 5, Deputy Chief Clerk Has No Respect For
Department Heads.
Were these the subjects of conversation

that you had with Mr. Stoud?

A. We did go over this document, yes.

Q. And you gave him your reaction to this,
to those issues?

A. Yes. I believe this counseling session

 

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was held with me as a directive that if he did not
have a counseling session with me, they were, A,
either going to fire him or, B, going to fire me.

Q. And when you say "they", that's the
County Commissioners?

A. The County Commissioners.

(At this time Defendant's
Exhibit No. 7 was marked
for identification.)

BY MR. HAILSTONE: |

Q. I show you what we are going to refer
to as Defendant's Exhibit 7, if you could review that
for a moment.

A. Okay.

Q. I will ask you have you ever seen this
document before?

A. IT have.

Q. In fact, on the last paragraph, it
states that you reviewed it and verified the
accuracy, correct?

A. Yes, sir.

Q. Now, it says that on June 14, 2016, you
verified it? Just directing your attention to the
final paragraph, do you see where I am?

A. I do.

 

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QO. But the letter is actually dated
June 13th, correct?

A. Yes, sir.

Q. Do you know why there is that
discrepancy? Is it just a mistake? |

A. I don't know why.

Q. But you have no reason to doubt the
fact that on June 14, 2016, you checked the content
of the letter?

A. I don't have any doubt.

Q. And you chose not to provide a letter,

according to Mr. Stoud, correct?

A. That is correct.

Q. In Paragraph 2 of the June 13th letter
it states that -- and I am starting on the second
paragraph -- "She stated," referring to you, "that

she felt that the issue seemed to go unnoticed and
unaddressed, except for her discussion with myself,"
referring to the Rich Ely incident, correct?

A. Correct.

Q. It is your understanding, though, that
Mr. Stoud was tasked with having to discipline Mr.
Ely, correct?

A. Either Mr. Stoud disciplined him or the

County Commissioners, themselves. I believe Mr. Ely

 

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is a direct report to the County Commissioners.

Q. Did you ever express your complaints
regarding Mr. Ely's treatment to Mr. Stoud?

A. I am sorry, what did you say?

Q. This indicates that you believe that
the incident went unnoticed and unaddressed. You
testified earlier that Mr. Stoud gave him a final
written warning, correct?

A. He did.

Q. Did you ever tell Mr. Stoud that you
thought that wasn't enough?

A. I believe I voiced that it wasn't
enough. I don't know that I came out and said that.
I was just disappointed.

QO. And we talked earlier -- and I am not

going to get back into it about what you think should
have been done, but did Mr. Stoud ever tell you what
he thought should have been done?

A. No, sir. /

Q. Now, you are no longer with Susquehanna

County, correct?

A. No, sir, I am not.
Q. When did you leave?
A. March 28th of 2018 was my last day with

Susquehanna County.

 

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1 Q. Where do you currently work?

2 A. Security Mutual Life.

3 Q. What do you do there?

4 A. I am an Executive Administrator.

5 QO. What are your duties -- is it an

6 insurance company?

7 A. It is. They do life insurance.

8 Q. Why did you leave the County?

9 A. With the passing of District Attorney
10 Klein, the office entered into some litigation issues
11 over who was going to be the District Attorney; so,
12 being unsure of the position, I put my: resume
13 together and branched out for other opportunities.

14 And this one came along, it was a good opportunity
15 for myself and my family, so, I took that

16 opportunity.

17 Q. Now, did you take any position outside
18 of the County before Security Mutual Life Insurance?
19 A. Yes.

20 QO. | What was that?

21 | A. I originally left Susquehanna County to
22 go to Family Design Resource.

23 QO. What is that?

24 A. I don't know how to explain it. They
25 take care of dependency hearings for Children &

 

 

 

KEYSTONE COURT REPORTING AGENCY, INC.
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67
Youth.

Q. When did you leave Susquehanna County
to work for them?

A. I left Susquehanna County on
March 28th.

Q. Okay.

A. I don't know in my resignation, I am
not sure that I said where I was going. That was
before Easter. The following -- sometime later that
week I was supposed to start my new position. In the

meantime, Security Mutual called to offer me a better
position. So, I reached out to Family Design and
told them, unfortunately, that I would not be joining

their team, that I was interested in another

position. So, then I went to Security Mutual.
Q. But you left the County because of the
issues with the DA. The first job -- you never even

started working at Family Design, is the bottom line?

A. No, I didn't start there at all.

Q. I understand. What is your current
salary?

A. 42,000 a year, I think.

Q. What was it your last year with the |
County?

A. I might. have said 32, 31. Again, I am

 

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not a hundred percent sure on these facts.

Q. Do you still have any contact with Mr.
Stoud?

A. Yes, I do.

Q. What is that?

A. He is still a mentor, still a friend.

Q. Do you still discuss your lawsuit
against the County with him?

A. Not really.

Q. Do you have any contact with any of the

County Commissioners since you left in March?
A. I have sent a text to Commissioner
Hall, his birthday was recently, I said happy

birthday; he responded back, thank you.

Q. What about Attorney Giangrieco?
A. I haven't seen him.
Q. Any other County employees that you

still have contact with?

A. Not really. You know, I am Facebook
friends with a few of them, but there is no in-depth
conversations.

Q. Is there anyone that you have discussed
your lawsuit against the County with that you can
recall?

A. I don't believe so.

 

 

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69
QO. Are you married?
A. I am.
Q. How long?
A. I was married 13 years this past May.
Q. Any children?
A. I have two.
Q. Ages?
A. 19 and 12.
QO. Other than the people we have talked

about already and County employees, have you
discussed this, your case against Susquehanna County,

other than your attorney, with anyone else?

A. Yes, sir.

Q. Who is that?

A. No one in particular, but this was
picked up by the -- what is the newspaper called, The
Independent and it was on the front page. So,
obviously, my parents said are you okay. I had some

community members that knew me reach out and say,
like, are you okay, you know. But when it hit the
paper to when it actually transpired to was quite a
gap. But, I mean, there was no in-depth details,
just I am okay, that's it.

Q. Okay.

A. But there is no long, drawn out

 

 

 

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conversations about it.
MR. HAILSTONE: That's fine.
That's all I have.

MR. SZEWCZYK: I have nothing.

(At this time the deposition
in the above-captioned matter

was concluded.)

 

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CERTIFICATE

I, Teresa Crossin,a Notary Public in and for
Luzerne County, Pennsylvania, do hereby certify
that the deposition was reported in machine
Shorthand by me, that the said witness was duly
Sworn/affirmed by me, that the transcript was
Prepared by me or under my supervision and

I further certify that I am not an attorney
Or counsel of any parties, nor a relative or
employee of any attorney or counsel connected with
the action, nor financially interested in the
action.

Ga eo

TERESA CROSSIN

KEYSTONE COURT REPORTING AGENCY, INC,
4099 BIRNEY AVENUE, SUITE 9

MOOSIC, PENNSYLVANIA 18507

 

 

 
“ Case 3:17-cv-02183-MEM Document 45-1 Filed 05/21/19 Page 73 of 87
Susquehanna County Commissioners

570-278-4600
Fax 570-278-9268

R.S. Stoud, Acting Chief Clerk
Thomas F, Meagher ITIL, Solicitor

Alaa M. Hall, Chairman
Michael J. Giangrieco, Vice Chairman
MaryAnn Warren, Commissione?

   

 

SUSQUEHANNA COUNTY COURTHOUSE
AONTROSE PENNSTLUANTA

PO Box 218 - Courthouse ~ Montrose, Pennsylvania 18801

S.

December.ZB, 2015

Richard Ely, Director :
County Office of Veterans’ Affairs .

Re: ‘Final Writing Warning ;

Dear Mr. Ely:

On behalf of the Commissioners, I am writing to follow up with you on the events which
occurred on December 23, 2015. After reviewing your statement, as well as the
statements of other.jndjviduals.who witnessed'the events; it appears that the facts are not
in dispute. On December 23, toward ‘the end of the workday, you were in the County’s
Offices wishing several employees a Merry Christmas, At this time, you hugged several
employees, apparently after they wished you a Merry Christmas and reached out for a hug,
At this time, Maggie McNamara was present and observed the above events, She made no
effort to be involved, nor did she wish you a happy holiday or attempt to initiate any

physical contact with you.

You then exited the area and spoke with several other employees who you wished happy
holidays. Thereafter, you exited the building and observed Ms. McNamara sitting in her
vehicle preparing to leave. Without any prompting or direction from Ms. McNamara, you
approached her vehicle and motioned for her to roll down her window. When she did SO,
you leaned and attempted to kiss her on the cheek during which you indicated that you
were attempting to wish her a Merry Christmas. Ms, McNamara withdrew from you and,
by your own admission, immediately appeared very uncomfortable about your actions.
You apologized to her then, and subsequently apologized a second time on Monday,

December 28, 2015.

on

I spoké with you on Dedeniber 28, 2015, regarding the above events. Although you
provided the above information to me during that meeting, you also seemed to question
the seriousness of the issues as well. For instance, you questioned whether anyone had
complained about the incident, and, if so, who and whether or not anyone had indicated
that they felt uncomfortable by your actions. At the end of the conversation, I direetéd
you to write a statement describing the events on December 23 and include any other

information that you wished to provide.

  

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On December 29, 2015, you submitted a written statement in which you detailed the
events which occurred on December 23. In contrast to our meeting the previous day, you
accepted full responsibility for your actions and indicated that, although they were “well
intentioned” in your mind, that they nonetheless constituted a lapse in judgment on your
part. You further indicated that you would never again place yourself in a position where
your conduct or motivation could be questioned.

Based upon the above events, please consider this letter to be a Final Written Warning.
Regardless of your motivation or intentions, your conduct on December 23, 2015, was
unprofessional and unacceptable and will not be tolerated at any level in the future. You
are currently a Department Head, but you were also the County’s Human Resource
Director before that. As a seasoned human resources professional, you obviously are
aware that workplace touching and statements are not viewed through the actor’s eyes or
with regard to their intentions, but rather, through the eyes of the individual to whom the
actions are being directed, Thus, regardless of your stated good intentions of sharing
holiday greetings, it should have been extremely obvious to you that attempting to kiss a
co-worker for any reason was problematic and in violation of the County’s policy

regarding workplace harassment.

To the extent that this or any similar conduct oceurs in the future, or the County receives
additional substantive information about this incident, the County will terminate your
employment immediately. You should take full advantage of this additional opportunity
to ensure that your conduct is beyond question in the future and you handle yourself in a

professional manner moving forward.

 

R.S. Stoud
Acting Chief Clerk

I hereby acknowledge receipt and a copy of this correspondence.

 

 

Date:
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Steve:

As instructed here is my summary of the events which took place that resulted in the complaint filed by
Maggie McNamara.

On Dec. 23" the following took place at approximately 4:30 PRM. The members of the Commissioner's
Office staff were preparing to leave work for the Christmas break. Diane Quattracchi was in the office
area and was wishing people a Merry Christmas. She came up to me and gave me a hug and a kiss on
the cheek and wished me a Merry Christmas. I thanked her and wished her the same. Jeanne Conklin
observed this and said to me, can I wish you a Merry Christmas? I said of course, or something like that
and she reached out for a hug. We hugged and wished one another a Merry Christmas. If I recall Sally
Hawley who was also preparing to leave also gave me a hug and wished me a Merry Christmas. Sally
had given me a hug and I believe a kiss on the cheek earlier that morning when I gave her a Christmas
card with a lottery ticket as I had done for all the other members of the Commissioner's Office staff.
Each of these Christmas well wishes took place in front of Maggie who was seated at her desk.

I returned to the Veterans Affairs Office to wish Tara Kennedy a Merry Christmas as she left. We also
exchanged hugs and wished each other a Merry Christmas. I closed out my computer, put things away,
put on my coat and shut and locked the doors to the area. As I did so I noticed that the lights in the
Commissioner's area were also off. It appeared that Maggie had left. I felt bad since I had not yet
wished her a Merry Christmas and did not want her to feel I was ignoring her.

When I exited the building Maggie was still in her parking space which is right next to mine. I tapped
on the window which she rolled down. I told her I just wanted to wish her a Merry Christmas and
began to move my head toward her intending to give her a peck on the cheek along with my well
wishes for a Merry Christmas. As I began to do so she moved away and it was apparent that she felt
awkward, Realizing this, I immediately stepped back from her car not wanting to make her
uncomfortable. I was very surprised at her unexpected reaction. I was embarrassed and felt bad. I
believe I put my hands up and said, “Whoa, sorry Maggie, I was just trying to wish you a Merry
Christmas that doesn't happen every day”, or something to that effect. With that I said, “I hope you and
your family have a wonderful Christmas” and then.I immediately went to my car.

I felt bad that I had made Maggie uncomfortable and beat myself up over the holiday weekend at my
well intended yet ill advised attempt to wish her a Merry Christmas. As you are aware I made it a point
to speak to Maggie at my first opportunity on Monday to apologize and I told her I was sorry if she was
offended and that I had no intention of making her uncomfortable with my efforts to wish her a Merry
Christmas. I did this and also told you and Maryann about what had taken place before I even knew

Maggie had expressed concern,

Later in the afternoon you called me into your office with Jeanne Conklin and told me you were
investigating this incident. I shared with you the information as described above and you told me I
should put this written summary together. I want to assure you, and the Commissioner's, that I had
absolutely no intention of offending Maggie. Furthermore I can promise you that such an occurrence
will never happen again with Maggie or any other individual. In hind sight, obviously my Christmas
spirit and best intentions clouded my judgment & had an unintended consequence. I apologize.
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PAGE 1 of 2

      
   
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Naturally I am concerned about the ramifications of this incident. In our conversation you brought up
several times the pending matter regarding Shari Minarsky. I understand your concems however being
totally familiar with that case I feel it is extremely important to consider that those allegations were for
multiple and significant indiscretions on numerous occasions and continued: after she had informed the
individual that she was unéomfortable with his conduct and that he should stop. By comparison my
own intentions were motivated by good will and had I had any idea that my efforts at wishing Maggie a
Merry Christmas as I had the other staff members, would result in her discomfort I most certainly
would not have done so, As I stated before I will learn from this unfortunate incident and will not place
myself or others in a position to question my conduct or intentions ever again.

In closing, as you are well aware December has been a very stressful month with all the changes and
the significant challenges I now face in the Veterans Affairs Office. I hope that the intentions and full
context in which this event took place will be considered and that we can move on with helping our

County's veterans. Thank you for your understanding and compassion.

Contritely & Most Sincerely,

;

 
       

PAGE 2 of 2
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MAGGIE MCNAMARA
Plaintiff

Vv.

SUSQUEHANNA COUNTY,
COMMISSIONER
ELIZABETH ARNOLD,
COMMISSIONER
MARYANN WARREN,
SUSQUEHANNA CO.
DIRECTOR OF VETERANS
AFFAIRS RICHARD ELY

 

Defendants

CIVIL ACTION
No. 3:17-CV-2182

JURY TRIAL DEMANDED

PLAINTIFF’S INITIAL DISCLOSURES

Pursuant to the requirements of Fed.R.Civ.P. 26(a), Plaintiff, Maggie

McNamara, by her counsel, hereby provides the initial disclosure information.

1. Pursuant to Fed.R.Civ.P. 26(a)(1)(A), the following are names of

individuals who may have information relevant to the current matter:

Robert Stoud
324 Maple Street
Montrose, PA

‘Maggie McNamara
5681 North Road
Friendsville, PA 18818

Commissioner Elizabeth Arnold
P.O. Box 218 -

  
 

   
 

PS}

  

DEFENDANT
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31 Lake Avenue
Montrose, PA 18801

Commissioner MaryAnn Warren
P.O. Box 218

31 Lake Avenue

Montrose, PA 18801

Commissioner Alan Hall
P.O. Box 218

31 Lake Avenue
Montrose, PA 18801

Michael Giangrieco, Esquire
P.O. Box 218

31 Lake Avenue

Montrose, PA 18801

Richard Ely

P.O. Box 218

31 Lake Avenue
Montrose, PA 18801

Jeanne Conklin
P.O. Box 218

31 Lake Avenue
Montrose, PA 18801

Lana Adams

P.O. Box 218

31 Lake Avenue
Montrose, PA 18801

Stephen Janoski
P.O. Box 218

31 Lake Avenue
Montrose, PA 18801
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2. Documents in the possession, custody, or control of Plaintiff that may be

used in support of her case:

A. 12/30/15 Final Warning Letter from Stoud to Ely

B. 6/10/16 Letter from Stoud to Commissioners

C. 6/10/16 Memo from Stoud to Commissioners (RE: McNamara)

D. 6/13/16 Letter from Stoud to Commissioners

3. Damages Claimed by Plaintiff: See Complaint for damages sought. A full

computation has not yet been calculated.

4. Insurance Agreements: Unknown by Plaintiff.

Plaintiff may supplement this information, as necessary and appropriate, prior

to trial,

Respectfully Submitted:

s/ Gerard M. Karam, Esquire
Gerard M. Karam, Esquire
Atty. ID# PA 49625

s/ Christopher J. Szewezyk, Esquire
Christopher J. Szewezyk, Esquire
Atty. ID # PA 306689

Mazzoni, Karam, Petorak, and
Valvano

321 Spruce Street

Suite 201

Scranton, PA 18503

P: (570) 348-0776

F; (570) 348-2755
Case 3:17-cv-02183-MEM Document 45-1 Filed 05/21/19 Page 80 of 87

CERTIFICATE OF SERVICE
I, Christopher J. Szewezyk, Esquire, hereby certify that on January 8, 2018, I

served a true and correct copy of the foregoing document to the following via US

Mail:

A. James Hailstone, Esquire
Kreder Brooks Hailstone LLP
220 Penn Avenue, Suite 200
Scranton, PA 18503

/s/ Christopher J. Szewczyk, Esquire
Christopher J. Szewezyk, Esquire
Mazzoni, Karam, Petorak, and
Valvano

321 Spruce Street

Suite 201

Scranton, PA 18503
Case 3:17-cv-02183-MEM Document 45-1 Filed 05/21/19 Page 81 of 87

June 21, 2016
Re: Resignation of Maggie McNamara

It is my intention to resign from my current position as Deputy Chief Clerk upon approval to transfer to
the District Attorney’s Office as the Victim Witness Coordinator.

Mt you,

“lly YN dio

DATE, INITIAL, PASS & RETURN
DATE INITIAL. COPY ME

 

 

 

 

 

 

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_ SUSQUEHANNA COUNTY COMMISSIONERS

  
 

R.S, Stoud, Chief Clerk

Alan M. Hall, Chairman
Michael J. Giangrieco, Solicitor

Elizabeth M, Arnold, Vice Chairman

MaryAnn Warren. Commissioner
PO Box 218

105 Maple Street

570-278-4600 (Phone) M PA 18801
ontrose,

570-278-9268 (Fax)

 

 

June 14, 2016

To: Susquehanna County Commissioners
From: R. S. Stoud
Subject: Letter of Resignation

Dear Commissioners,

It is with no small amount of consideration that I have come to the decision that I wish to resign
from the additional position and responsibilities of Susquehanna County Chief Clerk and request
that you honor your agreement to allow mé to return to the position of Director of Public Safety,
under the terms previously agreed to, as soon as is practical, I have enjoyed my time serving as
Chief Clerk and appreciate the opportunity to have served in this position. It is my hope that the
positive forward momentum and accomplishments for Susquehanna County continue.
Unfortunately, some recent management directional and operational changes have resulted in a
working environment where | feel that I cannot effectively continue within the position of Chief
Clerk. I wish everyone the best in their future professional and personal endeavors.

Regards,

KE —

R.S. Stoud

CC: Commissioner Alan M. Hall
Commissioner Elizabeth M. Arnold
Commissioner MaryAnn Warren

  
 

   

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Susquehanna County Commissioners

570-278-4600
Fax 570-278-9268

Anu M, Hatt. ¢ “hetentan
Elizabeth M, Arnald. tee Chatringy
MOry An Wa Fen, Canmatestareay

RS, Stoud, Chel Clerk
Michael. Gin ngrleea, Solte/tor

   

- SUT AAWA COUNTY COnitUS PO Box 21 Courthouse ~ Montrose, Pennsylvania 1880}
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June 10, 2016

Re: Counseling Session with Deputy Chief Clerk McNamara
Dear Commissioners:

As directed, | spoke with Deputy Chief Clerk McNamara this date relative to the issues
that were presented in list form to myself, but that it was determined that Deputy
McNamara needed to be made aware of, and ensure compliance with,

 
 

1, Lack of Communtention [sié]
This was discussed and js understood that communication flow is very important,

2 Tore Of Voice With Disrespect {sic}
McNamara stated that she does not believe that in her position that she has been
rude or disrespectful to anyone, but related that she understands the importance of
treating all with proper respect,

 

! related to Deputy MeNamara we Must remain on guard to avoid the appearance
of impropriety so as not to create a misperception, regardless of the truth, Deputy
McNamara related that she conducts herself professionally and that Working
Closely together provides the ability for seamless transition on work related
information passing and work requirements, as well ag facilitating the leaming
process of different Job responsibilities and tasks, She stated that she viewed
laughter as being just part of who she is and viewed it as a tension release, She
Went on to state that she resents the implication that she should have to clarify that
she is not having an unprofessional relationship with her boss, | informed her that J

  
 

    

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4, Lack of priovity of minutes And apenda being correct foy content and

Brarmminy [ste]
This matter was discussed with Deputy McNamara to ensure that she understands

the importance of attention to cletail as it relates to these items,

  

Deputy chief clerk hrs no respect for department heads Isic
Deputy McNamara related that she treats all with respect and will ensure that she

continues to do so,

3

   

I acknowledge that! have discussed and understand the above items,

  

Mapeie R, Moh amara
Deputy Chief Clerk

Respectfully submitted,

 

 
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Lack of communication
Tone of voice with disrespect

. Unnecessary Personnel chatting In office with

ongoing laughter and giggling non business related
for very long periods of time

Lack of Priority of minutes and agenda bei

Ng correct
for content and grammar

Enraged behavior in defense of certain employees

Deputy chief clerk has no res

pect for department
heads

 

 
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“245-440-2608

 

SUSQUEHANNA COUNTY COMMISSIONERS

   
 

RS. Stoud, Chier Glerk

Alan M, Hall, Chairman d age
Michael J. Giangrieeo, Solieltor

Elizbeth M. Arnold, Vice Chairman
MaryAna Warren, Contmisstoner ;

POBox 218
105 Maple Street

570-278-4600 (Phone) :
Manilroge, PA 18801

570-278-9268 (Fux)

 

June 13,2016

Re! Personnel Matter as related by Deputy Chief Clerk MeNamara
Denr Conimissioners:

As instructed, I miet with and related the issues of concern on the list that was provided.
Upon completion of same, Deputy McNainara related the following to me, Deputy
eNamara rélated that she had concerns about a number of issues, some related {o the

issues discusséd in the meeting that I had with the Comimiéioners and some not, She

to be more caring and sympathetic, She related that she feels like she is constantly
working under a Microscope and no matter haw much or hard she works, it does not
appear to make a difference. Deputy McNamara related that whether she has tried to be
completely professional or friendly, rior how many times she has gone above and beyond
to assist Commissioners Warren and Ainold that it hag not made a difference, and has

; only gotten worse. She related that she believes that Commissioners Warren and Armold
da not like her persondlly ond she would just preler them fo stop being unfair and
Singling her out. Deputy McNamara related that Commissioner Warren can be very nice
one minule and in the next, very mean, and she never knows what to expect from day to
day.

Deputy McNamara réferred to an unprofessional incident that occurred with Rich Ely,
where he attempted to hug and kiss her duting December of 2015, She stated that she felt
that this issue seemed {o £0 unnoticed and unaddressed except from her discussion with
myself. Deputy MéNaniura related that she continued ta work in proximity with him and
that When Veterans Affairs had issves: the Cominissioners ternporarily assigned her to the
office to assist along with him, making her feel uncomfortable. She related that since this
incident she ogain stated that she feels like a victim of excessive criticism relative to her
work, Deputy McNamara ended by stating that she is very alraid that once she-states (his
information and {ts read by the Commissisners, that she will be terminated without crise,
Depuly McNamara stated that this excessive criticism began incrensing ‘after the incident
with Ely and was left with no alternative but to believe that this is retaliatory type
behavior,

Ct would add that, although Commissioner Arnold began her terny after the incident-with
Ely, she was made aware of same and commented in Front of myself and Commissioner

  

 
 

DEFENDANT’S | Hull that, concerning the incident, she did not see what the big deal was, it was only a
EXHIBIT | hug at Chiistmas,)
Zo

CLP Fe 7

 

 

 
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17:56:55 05-24-2017

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1 informed her that I would document her responses and have her review same Prior to

signing the document, | additionally asked her to nuthor her own letter regarding the

above additional matters and submit same fo me on her own without being rushed,
Deputy McNamara signed the counseling letter document on 06/ 10/2016,

accuracy and informed me that she would not be offering her own letter, that she felt that

the information provided to me at this point would suffice as being that of a formal

complaint, but that she would participate and answer any questions or take part in any
ineetings desired. 1 informed her that I would forward her concemis with her counseling

 

13/14

 
